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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                           FORT WORTH DIVISION


RALPH CLAY WALSH, JR.               §
                                    §
VS.                                 §      ACTION NO. 4:17-CV-323-Y
                                    §
LISA HODGE, ET AL.                  §

      ORDER STAYING AND CLOSING CASE PENDING INTERLOCUTORY APPEAL
         (With Special Instructions to the Clerk of the Court)

        On July 11, 2019, Defendants filed a notice of appeal as to this

Court's recent order partially granting and partially denying their

summary-judgment motion.      In an effort to efficiently manage this

Court's docket, the Court concludes that all proceedings in this case

should be and hereby are STAYED, and this case is ADMINISTRATIVELY

CLOSED, pending the United States Court of Appeals for the Fifth

Circuit's final decision and issuance of mandate regarding the

interlocutory appeal. Either party may move to reopen this case no

later than thirty days after the Fifth Circuit's issuance of mandate.

Cf. Prior Products, Inc. v. Southwest Wheel-NCL Co., 805 F.2d 543,

544 (5th Cir. 1986).
        The clerk of the Court shall note this closing on the Court's

docket.

        SIGNED August 9, 2019.

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                                        TERRY R. MEANS
                                        UNITED STATES DISTRICT JUDGE
